     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 1 of 12 Page ID #:1



1 Mark L. Eisenhut, State Bar No. 185039
   meisenhut@calljensen.com
2 Samuel G. Brooks, State Bar No. 272107
   sbrooks@calljensen.com
3 CALL & JENSEN
  A Professional Corporation
4 610 Newport Center Drive, Suite 700
  Newport Beach, CA 92660
5 Tel: (949) 717-3000
6 Fax: (949) 717-3100
7 Attorneys for Plaintiffs
8
9
10                                UNITED STATES DISTRICT COURT

11                               CENTRAL DISTRICT OF CALIFORNIA
12
13    NEWPORT EXCHANGE HOLDINGS,                     Case No.   8:21-cv-1167
14    INC., a California corporation; and EYAL
      SHAHAR (also spelled “Shachar”), an            COMPLAINT FOR DAMAGES
15    individual and officer of OTA Franchise          1. Breach of Written Insurance
16    Corporation and Newport Exchange                    Contract
      Holdings, Inc.                                   2. Breach of Duty of Good Faith and
17                                                        Fair Dealing (Bad Faith)
18                      Plaintiffs,
19                      vs.                          JURY TRIAL DEMANDED
20
      AXIS INSURANCE COMPANY,
21
22                      Defendant.
23
24                                                   Complaint Filed: None Set
                                                     Trial Date:      None Set
25
26
27
28

     ONL01-31:3074941_1:7-6-21                     -1-
                                        COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 2 of 12 Page ID #:2



 1            Plaintiffs Newport Exchange Holdings, Inc., a California corporation, on behalf of
 2 itself and its insured subsidiaries, and EYAL SHAHAR (also spelled “Shachar”), an
 3 individual and officer of Newport Exchange Holdings, Inc. (“Plaintiffs”), by and through
 4 their counsel, hereby complain against Defendant AXIS Insurance Company, a Georgia
 5 insurance company, and alleges as follows:
 6                                          NATURE OF THE CASE
 7            1.       Defendant Axis failed to provide a defense (or indemnity) to its insureds
 8 when such defense was clearly required by the insurance policy. The insureds initially
 9 tendered the matter and requested a defense after receiving a notice from a government
10 agency that they were being investigated for two possible civil claims, potential violations
11 of the FTC Act and the Telemarketing Sales Rule. Axis wrongly denied coverage because
12 potential claims arising under the Telemarketing Sales Rule are purportedly excluded. It
13 said nothing about the potential FTC Act claims (which are covered), even though it owed
14 a full defense if any of the claims under investigation were covered. Later, the FTC
15 brought action against the Insureds, and it made no claim whatsoever under the
16 Telemarketing Sales Rule. Rather, it made claims under the FTC Act and the Consumer
17 Review Fairness Act (CRFA). This time, Axis again denied coverage, contending that
18 claims arising under the FTC Act are purportedly excluded. Axis wholly ignored the
19 CRFA claim, which is clearly covered. Axis owed its Insureds a full defense based on
20 both the FTC Act and CRFA claims, and refused to provide one in bad faith.
21                                            THE PARTIES
22            2.       Plaintiff Newport Exchange Holdings, Inc. is a California corporation whose
23 principal place of business is located at 17780 Fitch Avenue, Irvine, CA 92614. Its
24 subsidiaries include OTA Franchise Corporation, and NEH Services, Inc.
25            3.       Plaintiff Eyal Shahar (also spelled “Shachar”) is an individual and officer of
26 OTA Franchise Corporation and Newport Exchange Holdings, Inc. and resides in
27 California.
28

     ONL01-31:3074941_1:7-6-21                        -2-
                                           COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 3 of 12 Page ID #:3



 1            4.       Defendant AXIS Insurance Company is a Georgia insurance company with
 2 its principal place of business in Alpharetta, Georgia.
 3
 4                                   JURISDICTION AND VENUE
 5            5.       This Court has subject matter jurisdiction under 28 U.S.C. §1332(a) because
 6 there is complete diversity of citizenship and the amount in controversy exclusive of
 7 attorneys’ fees and cost exceeds Seventy-Five Thousand Dollars.
 8            6.       This Court has personal jurisdiction over Defendant because it is authorized
 9 to and routinely issues insurance policies and transacts other business in California and
10 in this district.
11            7.       Venue is proper in this District pursuant to 28 U.S.C. §§1391(b) as: (a) a
12 substantial part of the events or omissions giving rise to Plaintiffs’ claims occurred in this
13 District; (b) Defendant regularly conducts business in this District; (c) the unlawful acts
14 of Defendant complained of herein have been committed within this District and have
15 had effect in this District; and (d) the written agreement/contract as identified and
16 described more thoroughly below was entered into by the respective parties in this
17 District.
18
19                                                FACTS

20            8.       Newport Exchange Holdings, Inc. is the Named Insured for Axis policy

21 number MLN624205/01/2018, effective from July 7, 2018 to July 7, 2019 (2018 Policy),
22 and a consecutive policy number P-001-000131866-01, effective from July 7, 2019 to
23 July 7, 2020 (2019 Policy) (together "The Policies"). The Policies provide coverage for
24 Newport and its subsidiaries, including OTA Franchise Corporation and NEH Services,
25 Inc. They also include coverage for liabilities of officers, directors, and employees,
26 including Eyal Shahar, Sam Seiden, and Darren Kimoto.
27            9.       On or about February 22, 2019, the Federal Trade Commission (FTC)

28 confirmed in writing that it was investigating Newport, its subsidiaries, and Mr. Shahar

     ONL01-31:3074941_1:7-6-21                       -3-
                                          COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 4 of 12 Page ID #:4



 1 "for potential violations of the FTC Act and the Telemarketing Sales Rule." The FTC
 2 did not indicate what conduct or circumstances it was investigating as potential violations.
 3            10.      Plaintiffs tendered to Axis, requesting defense and indemnity.
 4            11.      The 2018 Policy provides coverage, among others, for "Directors and
 5 Officers Liability," "Insured Entity Indemnification," and "Insured Entity Liability."
 6 Further references herein are to the 2018 policy, unless stated otherwise.
 7            12.      The Policy requires Axis to "pay Loss" arising from a "Claim" for a
 8 "Wrongful Act." Newport and its subsidiaries are Insured Entities. Shahar, Seiden, and
 9 Kimoto are Insured Individuals.
10            13.      A Claim includes "a written notice of investigation or target letter by any
11 Government authority" made "against any Insured Individual" whether such investigation
12 is only of an individual, or also of an Insured Entity. Thus, the FTC’s February 22, 2019
13 notice was a Claim.
14            14.      A Wrongful Act for purposes of the applicable coverages includes “any
15 actual or alleged error, misstatement, misleading statement, act, omission, neglect, or
16 breach of duty by (1) an Insured Individual in his or her capacity as such . . . ; or (2) the
17 Insured Entity, with respect to the Insured Entity Liability Coverage.” Thus, the FTC
18 was investigating alleged Wrongful Acts.
19            15.      On or about April 3, 2019, Axis denied coverage, and declined to provide a
20 defense. Axis acknowledged the FTC was investigating its insureds for “potential
21 violations of the FTC Act and the Telemarketing Sales Rule,” acknowledged the insureds
22 had tendered a “Claim,” and implicitly agreed the investigation was of Wrongful Acts.
23 However, Axis quoted an exclusion in the Policy (which it labeled the “Consumer
24 Protection Law” exclusion) which purportedly excludes any Claims arising under the
25 Telemarketing Sales Rule, and on that analysis alone, declared “AXIS disclaims
26 coverage, and will neither defend nor indemnify the Insureds with regard to this Claim,”
27 even as to the FTC Act investigation.
28

     ONL01-31:3074941_1:7-6-21                       -4-
                                          COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 5 of 12 Page ID #:5



 1            16.      After interacting with the FTC for several more months, and fully
 2 cooperating with the FTC to provide all information requested, the Insureds again asked
 3 Axis to provide the benefits of the Policies they had purchased to protect them: “We
 4 respectfully request that AXIS reconsider this denial.” The Insureds pointed out “AXIS’s
 5 analysis in the April 3, 2019 letter only discusses the applicability of an exclusion to the
 6 Telemarketing Sales Rule,” and failed to analyze coverage for the FTC Act investigation.
 7 The Insureds pointed out that the investigation of FTC Act violations was broad, and
 8 explained in several pages of detail why the Claims being investigated were covered. The
 9 Insureds even pointed out that the FTC’s investigation seemed to also include
10 investigations related to “consumer complaints.”
11            17.      Axis completely ignored the request for reconsideration. In bad faith, it
12 simply did not respond.
13            18.      On or about February 12, 2020, the FTC filed claims against Plaintiffs, and
14 sought an immediate TRO to freeze OTA’s assets, which would leave it unable to fund a
15 defense of the case if Axis did not fund the defense as required by the Policies. The
16 FTC’s filings consisted of more than 8,000 pages of allegations and purported evidence,
17 with an ex parte request that required the Insureds to respond immediately (despite the
18 large volumes of material to respond to).
19            19.      The FTC did not allege any claims arising under the Telemarketing Sales
20 Rule. Rather, it alleged claims under the FTC Act and the CRFA – a statute intended to
21 protect a consumer’s right to review and/or complain about businesses on social media
22 and elsewhere publicly.
23            20.      On February 13, 2020, the Insureds, through counsel, provided Axis with a
24 copy of the FTC complaint, pointed out that it alleged violations of both the FTC Act and
25 the CRFA, and informed Axis of the FTC’s “ex parte motion for a temporary restraining
26 order.” The letter also further explained that the alleged claims are covered.
27            21.      Axis did not respond to this new submission for many months, despite
28 knowing the Court was being asked to take immediate action.

     ONL01-31:3074941_1:7-6-21                       -5-
                                          COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 6 of 12 Page ID #:6



 1            22.      Over the Insureds’ oppositions, the District Court in the FTC matter issued
 2 an order largely freezing the Insureds’ assets, leaving them wondering how to fund a
 3 defense of the case without the help of the insurance they purchased for this very purpose.
 4            23.      Ultimately, many thousands of student customers of the Insureds came
 5 forward in full support of the Insureds. They signed declarations and a petition attesting
 6 to the enormous value the Insureds’ education provided to them, and that they were never
 7 misled in any way. They even moved to intervene into the District Court case and filed
 8 an amicus brief with the 9th Circuit. Thus, while the FTC believed the Insureds had misled
 9 customers, and had complaints from some disgruntled ones claiming to have been misled,
10 the thousands of students who strongly supported the Insureds were far more numerous
11 and passionate about their positive experiences.
12            24.      The Court issued an asset freeze because it concluded the FTC ultimately
13 had the authority and potential to recover hundreds of millions of dollars from the
14 Insureds. The FTC Act did not provide such authority to the FTC. However, the 9th Circuit
15 had concluded that the FTC did have such authority, and the District Court was bound by
16 the then-current 9th Circuit law. The 7th Circuit had ruled consistently with the Insureds’
17 position, that the FTC had no such authority. As the Insureds’ case with the FTC was
18 proceeding, legal scholars increasingly opined that the United States Supreme Court
19 would likely take a case that would resolve this issue.
20            25.      More than 8 full months after the Insureds tendered the FTC complaint to
21 Axis, on October 6, 2020 Axis finally responded. The response is dated June 20, 2020,
22 which still would have been more than 4 months after the complaint was tendered, but
23 the Insured’s counsel did not receive such letter until October 6, 2020. Axis’s delayed
24 response (whether it was 4 months or 8 months) demonstrated bad faith, and the substance
25 (or lack thereof) of their response also demonstrated bad faith.
26            26.      Axis again denied coverage. This time, it tried to cover its prior bad conduct
27 by claiming that it had properly denied coverage in its April 3, 2019 letter both as to the
28 Telemarketing Sales Rule and as to the FTC Act, even though its denial letter never

     ONL01-31:3074941_1:7-6-21                        -6-
                                           COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 7 of 12 Page ID #:7



 1 analyzed the FTC Act issues at all. Axis’s new analysis leading it to deny coverage of the
 2 FTC Act claims was and is wrong.
 3            27.      Further, Axis did not even attempt to analyze coverage for the FTC’s CRFA
 4 claim. There is no conceivable basis for Axis to deny coverage based on such claim.
 5 Axis’s choice to simply ignore this basis for coverage further demonstrates its bad faith.
 6            28.      Axis also purported to deny coverage based on the definition of “Loss.” It
 7 wrote, “the relief sought by the FTC Complaint does not constitute insurable ‘Loss’ under
 8 the AXIS Policy,” and thus “the definition of ‘Loss’ separately and independently bar[s]
 9 coverage for the FTC Complaint.” But the Policies are abundantly clear to the contrary:
10 “’Loss’ means: . . . Defense Costs.” This is a bad faith basis for denying coverage of
11 Defense Costs – which is all the Insureds were requesting at the time, as the case was still
12 active and no settlement or judgment had been reached.
13            29.      Axis also cited in bad faith the “Illegal Profit or Conduct” exclusion as a
14 basis to deny coverage. Yet, as to such exclusion, the Policies clearly provide: “the
15 Insurer will provide a defense and pay Defense Costs unless or until such conduct is
16 evidenced by a final and non-appealable adjudication adverse to the Insured in the
17 underlying action.” No such adjudication ever occurred, and certainly had not occurred
18 at the time of Axis’s belated bad faith denial of coverage.
19            30.      It appears Axis sought at all costs to avoid paying benefits under the Policy,
20 and hoped its Insureds would be financially decimated, leaving them with no ability to
21 pursue claims against Axis under the Policies.
22            31.      As to the asset freeze order, the Insureds had a strong appeal pending to the
23 9th Circuit based on the First Amendment, the FTC’s lack of authority, and other grounds.
24            32.      Had they had funding for their defense as required via the Policies, the
25 Insureds could have remained in the FTC lawsuit until their appeal succeeded (as
26 thousands of students hoped they would do), and/or the Supreme Court ruled as to the
27 FTC’s lack of authority.
28

     ONL01-31:3074941_1:7-6-21                        -7-
                                           COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 8 of 12 Page ID #:8



 1            33.      In September 2019 AMG Capital Management began requesting the U.S.
 2 Supreme Court to hear a case that would determine whether the FTC had any authority
 3 to obtain a judgment for equitable monetary relief in this type of action. On July 9, 2020,
 4 the Supreme Court granted cert and agreed to hear the case.
 5            34.      At the time, the Insureds, their legal team, and many legal scholars, believed
 6 the Supreme Court would side with the 7th Circuit, and conclude the FTC had no such
 7 authority.
 8            35.      However, the Insureds had incurred millions of dollars in attorneys’ fees
 9 which they were far delinquent in paying, and did not have the financial ability to
10 continue fighting what they strongly believed to be a just cause.
11            36.      On or about September 11, 2020, the Insureds entered into a settlement
12 agreement with the FTC, agreeing to pay more than $9 million, and to comply with
13 various non-monetary provisions. The Court approved the settlement and entered the
14 agreed order finalizing the case.
15            37.      On April 22, 2021, the Supreme Court issued its ruling, unanimously
16 holding that the FTC has no authority to obtain monetary judgments in the type of
17 proceeding it brought against the Insureds. Had the Insureds been able to hold out long
18 enough for this ruling, the $9 million settlement would have been zero dollars.
19
20                                     FIRST CAUSE OF ACTION
21                         Breach of Insurance Contract Against All Defendants
22            38.      Plaintiffs incorporate by reference all prior paragraphs, as though set forth
23 in full herein.
24            39.      The parties entered into binding agreements reflected via the Policies.
25            40.      Defendants breached the Policies by failing to provide a defense and to
26 indemnify the Insureds.
27            41.      Plaintiffs suffered damages as a result in excess of one hundred million
28 dollars, and thus well in excess of the policy limits of $4,000,000.00, including unpaid

     ONL01-31:3074941_1:7-6-21                        -8-
                                           COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 9 of 12 Page ID #:9



 1 policy benefits, interest on contract amounts owed, and other out-of-pocket expenses and
 2 consequential damages. The exact amount of such damages will be proven at time of trial.
 3
 4                                   SECOND CAUSE OF ACTION

 5                  Tortious Bad Faith Denial of Coverage Against All Defendants

 6            42.      Plaintiffs incorporate by reference all prior paragraphs, as though set forth

 7 in full herein.
 8         43. Implied in every insurance policy is an obligation of good faith and fair

 9 dealing that neither the insurance company nor the insured will do anything to injure the
10 right of the other party to receive the benefits of the agreement. To fulfill its obligation
11 of good faith and fair dealing, an insurance company must give at least as much
12 consideration to the interests of the insured as it gives its own interests.
13            44.      Defendants owed Plaintiffs a duty of good faith and fair dealing which

14 included a promise by Defendants to not do anything to injure the rights of Plaintiffs to
15 receive the benefits of the Policies. Defendants’ duty of good faith and fair dealing
16 applied to all transactions and relationships between Defendants and Plaintiffs arising
17 under or in connection with the Policies.
18            45.      Defendants, and each of them, breached the implied covenant of good faith

19 and fair dealing by, among other things, failing to properly and fully investigate Plaintiffs’
20 claims; failing to evaluate Plaintiffs’ claims objectively; relying on unreasonable
21 interpretations of the Policies as an excuse for denying policy benefits rightfully owed to
22 Plaintiffs; ignoring portions of Plaintiffs’ claims that were clearly covered so as to deny
23 coverage; leaving the Insureds in a vulnerable position to have to incur substantial legal
24 fees and pay a substantial settlement on claims that could have been resolved for zero
25 dollars; not attempting in good faith to effectuate a prompt, fair and equitable resolution
26 of Plaintiffs’ claims; failing to advise Plaintiffs of all policy benefits, coverages, and other
27 provisions that might apply to Plaintiffs’ claim under the Policies, and as required by 10
28 Cal. Code of Regs. § 2695.4(a); compelling Plaintiffs to institute litigation and incur legal

     ONL01-31:3074941_1:7-6-21                       -9-
                                          COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 10 of 12 Page ID #:10



 1 costs to recover policy benefits rightfully due under the terms and provisions of the
 2 Policies; and deliberately denying policy benefits that Defendants, and each of them, and
 3 their representatives knew were owed under the terms and provisions of the Policy, in
 4 conscious disregard of Plaintiffs’ known rights and established law.
 5             46.      Plaintiffs suffered damages as a result in excess of one hundred million
 6 dollars, including but not limited to unpaid policy benefits, settlement amounts that could
 7 have been avoided had Defendants acted properly, severe harm to the business and its
 8 brand reputation that will stain the company for years (which could have been avoided
 9 with financing for a continued defense), and extreme and severe emotional distress for
10 Shahar and other individuals involved.
11             47.      The conduct of Defendants, and each of them, is part of a long-established
12 pattern of bad faith conduct designed to deprive Plaintiffs and others of policy benefits.
13             48.      In committing the acts described in this Complaint, Defendant and its
14 employees and/or representatives acted intentionally, with a conscious disregard for the
15 Plaintiffs’ known rights, and did so in a fraudulent and oppressive manner. The acts and
16 omissions, described above, warrant the imposition of exemplary damages in an amount
17 sufficient to punish and deter Defendants from engaging in similar conduct in the future.
18
19                                           PRAYER FOR RELIEF
20             WHEREFORE, Plaintiffs respectfully request relief and judgment against
21 Defendant as follows:
22             1.       An entry of judgment in favor of Plaintiffs and against Defendants;
23             2.       For special damages according to proof;
24             3.       For general damages according to proof;
25             4.       For an award of punitive and exemplary damages;
26             5.       For attorney fees;
27 / / /
28 / / /

      ONL01-31:3074941_1:7-6-21                        - 10 -
                                             COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 11 of 12 Page ID #:11



1              6.       For costs of suit; and
2              7.       For such other relief as the Court may deem just and proper.
3
      Dated: July 6, 2021                        CALL & JENSEN
4                                                A Professional Corporation
                                                 Mark L. Eisenhut
5                                                Samuel G. Brooks
6
                                                 By: /s/ /Mark L. Eisenhut
7                                                    Mark L. Eisenhut
8                                                Attorneys for Plaintiffs
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      ONL01-31:3074941_1:7-6-21                       - 11 -
                                            COMPLAINT FOR DAMAGES
     Case 8:21-cv-01167-DFM Document 1 Filed 07/06/21 Page 12 of 12 Page ID #:12



1                                           JURY DEMAND
2              Plaintiffs demand trial by jury.
3
      Dated: July 6, 2021                         CALL & JENSEN
4                                                 A Professional Corporation
                                                  Mark L. Eisenhut
5                                                 Samuel G. Brooks
6
                                                  By: /s/ Mark L. Eisenhut
7                                                     Mark L. Eisenhut
8                                                 Attorneys for Plaintiffs
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

      ONL01-31:3074941_1:7-6-21                    - 12 -
                                         COMPLAINT FOR DAMAGES
